                              UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE AT
                                      CHATTANOOGA

  UNITED STATES OF AMERICA

  v.                                                              Case No. 1:18-cr-11
                                                                  Judge Mattice/Steger
  JERRY WAYNE WILKERSON,
  MICHAEL CHATFIELD,
  KASEY NICHOLSON,
  BILLY HINDMON, and
  JAYSON MONTGOMERY


                        JOINT MOTION FOR BOND PENDING APPEAL

            Defendants Jerry Wayne Wilkerson, Michael Chatfield, Kasey Nicholson, Billy

 Hindmon, and Jayson Montgomery, by and through undersigned counsel, hereby file this motion

 for release pending appeal, pursuant to 18 U.S.C. § 3143(b). The defendants offer the following

 in support of their request:

       A.     Applicable legal standard for bond pending appeal

       A person convicted of a federal offense merits bail pending appeal if he or she is able to

 satisfy two requirements. First, the defendant must establish by clear and convincing evidence

 that he or she “is not likely to flee or pose a danger to the safety of any other person or the

 community if released.” 18 U.S.C. § 3143(b)(1)(A). The second requirement is that the appeal is

 not for the purpose of delay and raises a substantial question of law or fact likely to result in

 reversal; an order for a new trial; a sentence that does not include a term of imprisonment; or a

 reduced sentence to a term of imprisonment less than the total of the time already served plus the

 expected duration of the appeal process. 18 U.S.C. § 3143(b)(1)(B). The second requirement is

 commonly referred to as the “substantial question” factor.



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        As noted by Judge Varlan in the Roth decision, a clear and convincing standard applies to

 the first factor only, that is, whether the defendants are likely to flee or pose a danger to the

 safety of any other person or the community if released. United States v. Roth, 642 F. Supp. 2d

 796, 798 (E.D. Tenn. July 28, 2009). A preponderance of the evidence standard applies to the

 “substantial question” factor. Id. (citing United States v. Meyers, 95 F.3d 1475, 1489 (10th

 Cir.1996); see also United States v. Affleck, 765 F.2d 944, 953 & n. 15 (10th Cir.1985).

        To find that the defendants have met the “substantial question” requirement, the court

 need not find that the district court committed reversible error. United States v. Pollard, 778 F.2d

 1177, 1181-82 (6th Cir. 1985). “[A]n appeal raises a substantial question when [it] presents a

 close question or one that could go either way.” Id.

        The defendants are not seeking review in the Sixth Circuit for purposes of delay. Their

 appeal will ask the court to determine whether this Court used the proper statutory framework

 when it convicted all of the defendants of violations of the anti-kickback statute. Additionally,

 the defendants are seeking appellate review regarding whether this Court viewed the proof

 within the proper statutory framework when it convicted all of the defendants (aside from Mr.

 Montgomery) of health care fraud, wire fraud, and mail fraud. If the defendants were to prevail

 on their appellate issues (discussed in some detail below), it may result in reversal of some or all

 of their convictions.

        As for Mr. Montgomery and Ms. Nicholson in particular, the length of their sentences

 could more or less equal the time for the appeal process to run, making it manifestly unjust for

 them to begin serving sentences that the trial court itself acknowledged were proper subjects for

 appeal. (Doc. No. 545, Jayson Montgomery Sent’g Tr., PageID# 11222.)




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         B.      Bench trial standard of review

         The Sixth Circuit will review the adequacy of the verdicts in this case by applying the

 same standards used to review factual findings in civil bench trials under Federal Rule of Civil

 Procedure 52. See United States v. Fruehauf Corp., 577 F.2d 1038, 1072 (6th Cir. 1978) (holding

 that the findings of fact made by the district judge fully complied with the requirements of Fed.

 R. Crim. P. 23(c)); see also United States v. Hogue, 132 F.3d 1087, 1090 (5th Cir.

 1998) (“Certain of the standards for determining whether a trial court’s findings of fact are

 adequate are the same in civil and criminal cases.”).

         Therefore, the Sixth Circuit reviews a district court’s factual findings to determine if they

 “support the ultimate legal conclusions reached.” Zack v. Comm’r, 291 F.3d 407, 412 (6th Cir.

 2002). Federal courts of appeals adhere to “a liberal standard for reviewing the adequacy of the

 [trial court's] findings.” Id. at 412 (citing Grover Hill Grain Co., 728 F.2d 784, 792 (1984)).

 Under this standard, “findings are to be liberally construed in support of a judgment, even if the

 findings are not as explicit or detailed as might be desired.” In re Fordu, 201 F.3d 693, 710 (6th

 Cir. 1999). Still, even with this court’s liberal approach, “the trial court's findings must support

 the ultimate legal conclusions reached.” Zack, 291 F.3d at 412 (quoting Grover Hill Grain

 Co., 728 F.2d at 792). Such findings are essential to “reveal the logic behind the trial court's

 decision,” and they must “enable an appellate court to conduct a meaningful review of the trial

 court's order.” Id. (citing Grover Hill Grain Co., 728 F.2d at 792–93) (“The findings should be

 explicit so as to give the appellate court a clear understanding of the basis of the trial court's

 decision, and to enable it to determine the grounds on which the trial court reached its

 decision.”).




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        C.      The Court applied an incorrect legal standard.

        All five defendants were convicted of violations of paying and/or receiving illegal

 remuneration in violation of 42 U.S.C. § 1320a-7b(b)(2). That statute reads, in relevant part, as

 follows:

                Whoever knowingly and willfully offers or pays any remuneration
                (including any kickback, bribe, or rebate) directly or indirectly. . . (B)
                to purchase . . . any . . . service, or item for which payment may be made
                in whole or in part under a Federal health care program, shall be guilty
                of a felony. . . (emphasis added).

 42 U.S.C. § 1320a-7b(b)(2)(B). All of the defendants, aside from Mr. Montgomery, were

 convicted of at least one count of health care fraud count, which required this Court to find

 beyond a reasonable doubt that a defendant:

        knowingly and willfully executes, or attempts to execute, a scheme or artifice--
        (1)     to defraud any health care benefit program; or

        (2)     to obtain, by means of false or fraudulent pretenses,
                representations, or promises, any of the money. . .owned
                by. . .any health care benefit program.

 18 U.S.C. § 1347.

        In order to obtain a conviction for wire or mail fraud, there are three required elements.

 The only difference between the two statutes is whether the alleged fraud occurs through the use

 of the mail or wire transmissions. The basic elements of wire fraud are: “(1) a scheme or artifice

 to defraud; (2) use of interstate wire communications in furtherance of the scheme; and (3) intent

 to deprive a victim of money or property.” United States v. Prince, 214 F.3d 740, 747–48 (6th

 Cir. 2000).




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         Illegal remuneration counts

         Mr. Wilkerson, Mr. Chatfield, Ms. Nicholson, Mr. Hindmon, and Mr. Montgomery

 respectfully submit that the Court as trier of fact applied an erroneous legal standard when

 assessing the defendants’ guilt on the illegal remuneration counts. Specifically, the defendants

 submit that the Court concluded that the fraud consisted of (1) the defendants’ failure to disclose

 the cost of the compounded creams and (2) that the failure to disclose the cost violated an

 improperly inferred legal duty. None of the statutes of conviction impose upon the defendants a

 duty to disclose the cost of the medication. Therefore, the defendants should not have been found

 guilty of fraudulent activity for failure to comply with a nonexistent duty. All five defendants

 waived a request for written findings of fact and conclusions of law at the close of trial pursuant

 to Fed. R. Crim. P. 23(c). Therefore, the defendants rely upon the Court’s statements at their

 sentencings as an indication of whether the Court applied the proper legal standard when

 evaluating the proof at trial.

         Mr. Montgomery was convicted solely on two counts of receipt of illegal remuneration.

 (Doc. No. 409.) At Mr. Montgomery’s sentencing hearing, the Court said that it convicted him of

 those counts because “at some point he became familiar enough with what was going on here

 that he beyond a reasonable doubt in my opinion knew or at least should have known that what

 was going on here was fraudulent.” (Doc. No. 545, Jayson Montgomery Sent’g Tr., PageID#

 11174.) The Court seems to suggest that Mr. Montgomery’s convictions for receipt of illegal

 remuneration require a finding of fraud. The statute does not in fact require such a finding. 42

 U.S.C. § 1320a-7b(b)(2)(B). Second, it appears from this statement that the Court concluded that

 the least culpable mens rea required in order to convict Mr. Montgomery is that he should have




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 known that the conduct was illegal. However, the statute requires more than mere negligence – it

 requires knowing and willful conduct.

        In order to convict the defendants for the payment or receipt of illegal remuneration as

 prohibited by 42 U.S.C. § 1320a-7b(b)(1) and (2), the Court had to find beyond a reasonable

 doubt that they acted knowingly and willfully. (Doc. 355, Order, PageID# 3984.) As the Sixth

 Circuit Pattern Jury Instructions state, an act is “’knowingly’ done if done voluntarily and

 intentionally, and not because of mistake or some other reason.” There is very limited precedent

 in criminal prosecutions of the illegal remuneration statute in the Sixth Circuit. The Fifth Circuit

 has addressed what “willfully” means in the context of this statute. It “means that the act was

 committed voluntarily and purposely with the specific intent to do something the law forbids;

 that is to say, with bad purpose either to disobey or disregard the law.” United States v. Davis,

 132 F.3d 1092, 1094 (5th Cir. 1998) (quoting United States v. Garcia, 762 F.2d 1222, 1224 (5th

 Cir. 1985)); see also United States v. Starks, 157 F.3d 833, 837-838 (11th. Cir. 1998) (quoting

 11th Circuit pattern instructions).

        Fraud counts

        The defendants submit that the Court did not apply the correct elements of health care

 fraud in evaluating the Government’s proof for the other four defendants. It is unnecessary to cite

 the Court’s remarks at all five sentencings. The Court’s comments with respect to its findings

 regarding the elements of fraud make it apparent that the Court’s findings were applicable to all

 four defendants who were convicted under the fraud statutes.

        Mr. Chatfield was found guilty of multiple counts, including health care fraud

 conspiracy, health care fraud, wire fraud, and mail fraud. (Doc. No. 409.) The Court noted at Mr.

 Chatfield’s sentencing hearing that:



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        I believe that the overall fraud that the Court found. . .there was, in fact,
        some duty on the part of the defendants in the case or at least, at least
        Mr. Chatfield and others. . .to disclose to someone, either the insurance
        company or the patient or someone the cost of these creams. . .that would be
        charged to the insurance company. And I feel further that there was probably
        some duty to disclose the relationship of that cost to be charged to the insurance
        company to the medical efficacy of the creams themselves.

 (Doc. No. 547, PageID# 11394-11395 (emphasis added).)

        The Court went on to say that “I would be the first to admit that the source [of a legal

 duty] was not as clear as I certainly would have liked, although, I felt comfortable finding

 beyond a reasonable doubt that it was a material fact that needed to be disclosed in this. So,

 that's, to me, the fraud, broadly stated, of which Mr. Chatfield was convicted.” (Id. at 11395.)

         As is evident from the statement below at Mr. Chatfield’s sentencing, this Court seemed

 to link an inferred duty to disclose the cost of the creams with the medical efficacy of the creams.

 As discussed in further detail below, the defendants are appealing the denial of their motion to

 exclude proof regarding the medical efficacy of the creams. Because the medical efficacy of the

 creams was not a required element of any of the statutes of conviction, it was error for the Court

 to admit that proof, which may have led the Court to make improper inferences regarding the

 required elements.

        [S]o, I guess if that were the fraud, in other words, the failure to disclose a
        material fact, okay, the underlying failure to disclose a material fact, it only
        leaves a few options available to say. . . an expert or someone that somehow
        the cost that was being charged to the insurance company was somehow
        commensurate with the medical efficacy, necessity, whatever you want to
        call it, of the creams themselves.

 (Id. at 11395-11396.)

        During Mr. Hindmon’s sentencing, the Court acknowledged that it was difficult to find

 the source of the implied legal duty to disclose the cost of the compounded creams. That, in fact,




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 is because there is no statutory requirement for the defendants to disclose that information to the

 insurers, patients, or anyone else. At Mr. Hindmon’s sentencing, the Court explained:

        I know what I was thinking when I rendered the verdict . . . it’s that the
        prices that were being charged for these creams were in my mind
        extraordinarily exorbitant for any legitimate medical use that they may
        have conferred and could have been obtained on an open market at a
        very tiny fraction of the cost which was charged to the insurance companies
        . . . I think implicit in the Court's verdict had to be that, and this is where this
        whole case becomes difficult, that somehow the defendants were under an
        obligation, even though the Court will probably concede that obligation is not
        as explicit as the government might hope it was, to disclose what was being
        provided to the patients and to their insurance companies and what the relative
        value of medical necessity was being served by these compounds versus what
        could be bought over the counter in . . . any corner pharmacy. I think that’s the
        fraud in this case.

 (Doc. No. 546, PageID# 11271 (emphasis added).)

        At Mr. Wilkerson’s sentencing, the Court reiterated that it could not point to one

 particular statute that imposed a legal duty to disclose the cost of the compounded creams.

 Critically, the Court found that the implied duty was a material fact upon which the fraud was

 predicated. As a result, the fraud convictions for all four defendants rest on the Court’s

 misinterpretation of what constitutes a material fact, and therefore, what can be used to support a

 fraud conviction. While sentencing Mr. Wilkerson, the Court stated that:

        [i]t would have been much better if the law had been clear
        about exactly where the duty was, but at the end of the day
        what I found is that there is somehow this overarching duty to
        disclose, you know, a material fact that may have a bearing on that.
        And that's what I decided that, what I've described as is the failure to
        disclose the extent to which the cost that were being charged
        was commensurate with any medical efficacy of the creams,
        that's what had to be disclosed.

 (Doc. No. 546, PageID# 11602 (emphasis added).)




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          The Court went on to say: “[i]t would certainly be better if the law were clearer about the

 source of that duty, but, see, what I've also said, I think that’s the nature of fraud.” Id. “[W]ould

 you agree with me that the law of fraud, always has been, always will be, there are different

 gradations of it, and some cases are much closer than others, let me just leave it at that.” Id. at

 11603.

          Unlike an affirmative misrepresentation that is material, the Sixth Circuit has held that

 fraudulent pretenses or representations can include omissions, or concealment, “where one says

 nothing but has a duty to speak.” United States v. Maddux, 917 F.3d 437, 443-446 (6th Cir.

 2019). The Maddux decision, when read in conjunction with the notes to the Sixth Circuit Pattern

 Jury Instructions, supports that an omission or concealment can only be material under the fraud

 statutes when there is an affirmative legal or contractual duty to provide information that was

 omitted or concealed. Mr. Wilkerson, Mr. Chatfield, Ms. Nicholson, and Mr. Hindmon had no

 legal duty to inform the insurers or pharmacy benefits managers regarding their existence or

 actions. Secondly, there was no proof at trial that any of them actually knew that he or she was

 obligated to make such a disclosure. In fact, the proof demonstrated that none of them had any

 ability to make such a disclosure or cause anyone else to make it. Secondly, there was no proof at

 trial that any of them actually knew that he or she was obligated to make such a disclosure.

          One of the government’s materiality witnesses, Mr. Steve McCall from CVS Caremark,

 testified that Caremark does not communicate with third parties that are not contracted with

 Caremark and cannot discuss details of medical records because of the Federal HIPAA law.

 Therefore, it was improper for the Court to rest its finding of guilt on a nonexistent legal duty to

 disclose. (Doc. No. 334, Steve McCall Testimony Tr., PageID# 3784.)




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        D.      The Court committed error by admitting irrelevant testimony concerning the
                medical efficacy of the creams.

        The Amended Third Superseding Indictment states, “The defendants informed the

 customers that the creams and medications would treat a variety of ailments, including pain,

 eczema, psoriasis, stretch marks, warts and other conditions.” (Doc. 254-1, Amended Third

 Superseding Indictment, PageID#1333.) By implication, this allegation asserts that the creams

 did not effectively treat these conditions. Later, the indictment alleges “compounded drugs,

 drugs which were exorbitantly priced and for which there was little if any medical necessity.”

 (Id. at PageID#1362.) The defendants submit that it was error for the Court to admit evidence

 concerning the effectiveness of the compounded creams because Federal Rule of Evidence 403

 excludes relevant evidence “if its probative value is substantially outweighed by a danger

 of…unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting time, or

 needlessly presenting cumulative evidence.” Fed. R. Evid. 403; United States v. Schrock, 855

 F.2d 327, 333 (6th Cir. 1988). The Court, in its own words, acknowledged that its finding of

 guilt on the fraud counts rested in part on its conclusion that there was some duty for defendants’

 to weigh the cost of the medications based on whether the drugs were necessary and/or effective.

 Therefore, the introduction of evidence related to medical necessity and effectiveness contributed

 to the Court’s application of an improper legal standard.

        E.      The defendants do not pose a risk of non-appearance, nor are they a danger
                to the community.

        United States Magistrate Judge Christopher Steger found, and the government agreed,

 that none of the defendants presented a risk of flight, nor were they considered to be a danger to

 the community when all five were placed on pretrial release conditions following indictment.




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        The defendants have followed the directives of the United States Probation officers

 responsible for their pretrial supervision. While Mr. Montgomery concedes that there he engaged

 in improper communications with his mother, Ms. Dawn Montgomery, in violation of his pretrial

 release conditions, the Court heard proof regarding those communications and chose not to take

 any action regarding the conditions of Mr. Montgomery’s release. (Doc. No. 217. )All five

 defendants have remained employed and continued to care for their immediate and extended

 families for the past several years throughout the investigation, trial, and sentencing. Each

 maintains the support of a wide network of friends. From the time this investigation began more

 than five years ago, the defendants had ample opportunity to flee and did not.

        None of the defendants had serious criminal histories prior to their convictions. The

 government is likely to argue that the calculus has changed now that all of the defendants stand

 convicted of federal felony offenses. However, the government cannot support an argument that

 this Court’s verdict in a fraud prosecution gives rise to an inference that any of the defendants

 are dangerous. None of the defendants have been convicted of or even accused of any conduct

 involving violence, firearms, or other potential markers of dangerousness. Therefore, their

 release on bond pending appeal does not present a danger to the community. Mr. Wilkerson, Mr.

 Chatfield, Ms. Nicholson, Mr. Hindmon, and Mr. Montgomery attended a trial spanning several

 months, knowing that they were very likely to face the potential for lengthy sentences of

 incarceration if convicted. In addition, they traveled to Winchester, Tennessee for their

 sentencings, each of them knowing that they were almost certainly going to be sentenced to some

 term of imprisonment. The past conduct of all five defendants in their unfailing compliance with

 release conditions and attendance at all court proceedings is strong evidence that none of them

 present a flight risk. Any potential concerns the Court may have regarding a risk of non-



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 appearance can be mitigated by conditions designed to assure the defendants’ presence at any

 future court appearances, including measures like home confinement. See 18 U.S.C. §

 3143(b)(1)(A) (citing § 3142(c) which requires consideration of whether release upon conditions

 would mitigate the risk of nonappearance). The defendants do not believe home confinement

 would be necessary to assure their presence, but would certainly be willing to fully comply with

 any conditions the Court believes are necessary.

    F. COVID-19 presents a serious threat in the Bureau of Prisons.

    As of September 8, 2020, 120 inmates and staff members have died of complications from

 COVID-19. See Bureau of Prisons, https://www.bop.gov/coronavirus. Most of the deaths appear

 to be those whose preexisting conditions placed them at higher risk of serious illness, which does

 not describe the defendants in this case. While all five defendants are generally healthy, there are

 examples in the Bureau of Prisons, and globally, of people with no known high-risk factors who

 died from COVID-19 related complications.

        In various procedural contexts, federal courts across all districts have released prisoners

 because of the unique threat posed by the COVID-19 pandemic. That includes situations in

 which defendants were released pending adjudication of post-conviction claims. See, e.g., United

 States v. Nkanga, No. 18-CR-713 (JMF), R. 120 (S.D.N.Y. Apr. 7, 2020) (granting bail pending

 adjudication of habeas petition in light of “the precise timing of the sentencing proceeding . . . in

 relation to the emerging COVID-19 pandemic” and the medical issues of the petitioner). The

 unprecedented circumstances facing the prison system has continued to overwhelm even the

 good-faith efforts by the Bureau of Prisons staff to manage infection and illness rates among

 their staff and detainees. Numerous courts have acknowledged that the extraordinarily dangerous

 nature of COVID-19 is felt most acutely by those in institutional settings. In White, a district



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 court decision from the Middle District of Tennessee, the defendant was granted compassionate

 release even though he had not exhausted administrative remedies. United States v. Timothy

 White, 3:18-cr-00349 (M.D. Tenn. Apr. 1, 2020). Mr. White had been recently sentenced but was

 not yet designated to a BOP facility. The court found that he could not apply for compassionate

 release, and therefore waived exhaustion. Id.

        In United States v. Garlock, the district court extended the defendant’s date for

 surrendering to serve an already-imposed prison sentence until September 1, 2020, concluding

 that no one should be entering BOP custody absent “truly extraordinary circumstances”. United

 States v Garlock, No. 18-CR-00418-VC-1, 2020 WL 1439980, at *1 (N.D. Cal. Mar. 25, 2020)

 (citing “chaos” inside federal prisons in sua sponte extending time to self-surrender: “[b]y now it

 almost goes without saying that we should not be adding to the prison population during the

 COVID-19 pandemic if it can be avoided”).

        The health risks—to inmates, guards, and the community at large—created by large

 prison populations cannot be overstated. Creating large pockets of infection within prison

 populations has placed a strain on the medical resources of the communities in which they are

 housed. In order to avoid adding to the chaos and creating unnecessary health risks, defendants

 such as Mr. Wilkerson, Mr. Chatfield, Ms. Nicholson, Mr. Hindmon, and Mr. Montgomery who

 are on release and scheduled to surrender to the Bureau of Prisons in the coming months should,

 absent truly extraordinary circumstances, have their surrender dates extended until this public

 health crisis has passed.




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        Conclusion

        Based on the foregoing analysis, Mr. Wilkerson, Mr. Chatfield, Ms. Nicholson, Mr.

 Hindmon, and Mr. Montgomery satisfy the standard for bail pending appeal under 18 U.S.C. §

 3143 and respectfully request that this Court order them to be released pending appeal.



                                                     Respectfully submitted,

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